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                       UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF MISSOURI
                                 ST. LOUIS DIVISION
_________________________________________
IN RE:                                       )
                                             )      Chapter 7
Michael Christopher Dean and Meredith Leigh  )
Miller Dean                                  )      Case No. 19-46230
                                             )
Debtors,                                     )
_________________________________________)
        REQUEST OF ZWICKER & ASSOCIATES, P.C. FOR SERVICE OF NOTICES
                  PURSUANT TO FED. R. BANKR. P. 2002(g)
       PLEASE TAKE NOTICE that Zwicker & Associates, P.C., as authorized agent for creditor

American Express National Bank, requests, pursuant to Rules 2002 and 9007 of the Federal Rules

of Bankruptcy Procedure and sections 102(I), 342 and 1109(b) of title 11 of the United States

Code, 11 U.S.C. §§ 101 et seq., that all notices given or required to be given and all papers served

or required to be served in this case also given to and served, whether electronically or otherwise,

on:


                              American Express National Bank
                              c/o Zwicker & Associates, P.C.
                              80 Minuteman Road, P.O. Box 9043
                              Andover, MA 01810-1041
                              P(877)214-4172
                              F(978)631-0091
                              E-mail: bknotices@zwickerpc.com

Dated at Andover, Massachusetts this 21st day of October, 2019.
                                                     /s/Katie E. Hankard
                                                     Katie E. Hankard
                                                     Zwicker & Associates, P.C.
                                                     Authorized Agent for American Express
                                                     National Bank
                                                     80 Minuteman Road
                                                     P.O. Box 9043
                                                     Andover, MA 01810-1041
                                                     (877)214-4172
